






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00729-CR







Ruben Simei Ornales, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILLS COUNTY, 35TH JUDICIAL DISTRICT


NO. 2763, HONORABLE STEPHEN ELLIS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


PER CURIAM

On June 7, 2010, appellant's appointed counsel on appeal, Tommy Adams, filed a
motion to withdraw supported by a brief concluding that the appeal is frivolous and without merit. 
See Anders v. California, 386 U.S. 738, 744 (1967); see also High v. State, 573 S.W.2d 807 (Tex.
Crim. App. 1978); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  On September 8,
after concluding that counsel's brief did not meet the standards required for frivolous appeal briefs,
the Court ordered counsel to tender a substitute brief complying with Anders, Gainous, and High on
or before October 8, 2010.  Counsel did not file a new brief as ordered.

The appeal is abated.  The trial court shall conduct a hearing to determine whether
the attorney it appointed to represent appellant has abandoned the appeal.  Tex. R. App. P.
38.8(b)(2).  The court shall make appropriate findings, recommendations, and orders.  If necessary,
the court shall appoint substitute counsel who will effectively represent appellant in this cause.  A
record from this hearing, including copies of all findings and orders and a transcription of the court
reporter's notes, shall be forwarded to the Clerk of this Court for filing as a supplemental record no
later than December 3, 2010.  Rule 38.8(b)(3).



Before Justices Patterson, Pemberton and Henson

Abated

Filed:   October 29, 2010

Do Not Publish


